Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


 AMIN LAKHANI,
     Plaintiff,
 vs.

 FX SOUTH MIAMI, LLC and
 MOMI RAMEN, LLC d/b/a
 MOMI RAMEN,
     Defendants.


                                          COMPLAINT

        Plaintiff, AMIN LAKHANI (hereinafter “Plaintiff”), by his undersigned, hereby files this

 Complaint and sues Defendants, FX SOUTH MIAMI, LLC and MOMI RAMEN, LLC d/b/a

 MOMI RAMEN (hereinafter “Defendants”), for injunctive relief pursuant to the Americans with

 Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility

 Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida Building Code.

                                         JURISDICTION

        1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

 violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                             PARTIES

        2.      Plaintiff, AMIN LAKHANI, is currently a resident of the State of Washington, is

 sui juris, and is a qualified individual under the ADA and the FACBC who has been

 intentionally denied access to the Subject Premises as set forth more fully herein, and who will

 continue to be intentionally denied such access without the injunctive relief requested herein.
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 2 of 9




        3.      Mr. Lakhani is limited in one or more major life activities and requires a

 wheelchair to ambulate. Mr. Lakhani has been diagnosed with Type 1B Hereditary Motor &

 Sensory Neuropathy, which is also known as Charcot-Marie-Tooth Disorder.

        4.      Despite the physical limitations to which he is subjected as a result of his

 disability, Mr. Lakhani strives to lead a full life, frequently travels, dines out, and is also an

 actively social, independent, and highly educated, individual.            Mr. Lakhani traveled

 internationally throughout his life both before and after requiring a wheelchair to ambulate at the

 age of 15. Since the age of 15, he has traveled frequently through the United States, and also to

 Singapore, France, and Mexico.

        5.      Mr. Lakhani also attended a highly selective dual degree program at the

 University of Pennsylvania, an Ivy League Institution, where he received degrees in Economics

 and Computer Science. Mr. Lakhani is very social, highly involved in his community, offers

 dating-coaching through his website and social media, and is highly involved in social activism.

        6.      Mr. Lakhani’s stays frequently in close proximity to the subject premises—so

 close that it would be considered walking distance for able-bodied persons.

        7.      Mr. Lakhani avers with all certainty that he will frequently return to the Subject

 Premises once the architectural barriers to access and discriminatory policies and procedures

 violating the ADA and the FACBC are no longer present.

        8.      Mr. Lakhani looks forward to revisiting Subject Premises to partake in the full

 and equal enjoyment of the food and services offered to the general public by this facility.

 However, Plaintiff is deterred from returning so long as the discriminatory barriers and policies

 described herein continue to exist at the subject property.
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 3 of 9




          9.       Mr. Lakhani has visited the Subject Premises, which forms the basis of this

 lawsuit and plans to return to avail him of the goods and services offered to the public at the

 property, and to determine whether the property has been remedied to be ADA compliant.

          10.      However, Plaintiff has been denied access to the Subject Premises and full and

 equal enjoyment of the goods and services offered therein because of his disability and will

 continue to be denied such access as a result of the barriers to access which exist at the facility

 including, but not limited to, those set forth in the Complaint.

          11.      Independent of his personal desire to access this place of public accommodation

 as required by law, Plaintiff is an advocate of the rights of similarly situated persons with

 disabilities and an advocate for asserting his own civil rights.

          12.      In this instance, Plaintiff, in his individual capacity, has visited the Subject

 Property, encountered barriers to access at the Subject Premises, was compelled to engage those

 barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury as

 a result of the illegal barriers to access including the ADA regulatory violations set forth herein

 below.

          13.      Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General, published revised regulations for Title III

 of the Americans with Disabilities Act of 1990 in the Federal Register to implement the

 requirements of the ADA. Public accommodations were required to conform to these regulations

 on or before March 15, 2012.1




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   “Safe Harbor. Elements that have not been altered in existing facilities on or after March 15, 2012, and that comply
 with the corresponding technical and scoping specification for those elements in the 1991 Standards are not required
 to be modified in order to comply with the requirements set forth in the 2010 Standards” 28 CFR §36.304(d)(2)(i),
 however, the violations described herein violate both the 1991 Standards as well as the 2010 Standards.
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 4 of 9




         14.    Because, inter alia, this facility was designed, constructed, and received its

 Certificate of Occupancy/State Licensure on August 21, 2012, Plaintiff asserts that said ADA

 violations are intentional in nature and will not be corrected absent Court intervention, thus

 exacerbating the intentional legal harm and injury to which Plaintiff has been and will continue

 to be subjected in the future.

         15.    Defendant, FX SOUTH MIAMI, LLC, is a Florida Limited Liability Company

 which is authorized to and does transact business in the State of Florida and within this judicial

 district.

         16.    Pursuant to the Miami-Dade Property Appraiser’s Office, Defendant, FX SOUTH

 MIAMI, LLC, is the owner and/or operator/manager of the real property located on or 5 SW 11

 St. (a/k/a 1040 Brickell Ave.), Miami, FL 33131 (hereinafter the “Subject Premises”). This is

 the building where the Subject Premises/restaurant is located.

         17.    Defendant, MOMI RAMEN, LLC, is a Florida Limited Liability Company which

 is authorized to and does transact business in the State of Florida and within this judicial district.

         18.    According to the Florida Department of Business and Professional Regulation, the

 Defendant, MOMI RAMEN, LLC, was licensed on August 21, 2012 to provide Permanent Food

 Service and Seating and occupies 5 SW 11 St. (a/k/a 1040 Brickell Ave.), Miami, FL 33131 as a

 restaurant. Defendant, MOMI RAMEN, LLC, is also the owner of the fictitious name “MOMI

 RAMEN” under which the Defendant is doing business.

         19.    The Defendants’ Facility is a public accommodation and service establishment,

 and although required by law to do so, it is not in compliance with the ADA and ADAAG.

         20.    In this instance, Mr. Lakhani visited the Facility and encountered barriers to

 access at the Facility, and engaged barriers, suffered legal harm and injury, and will continue to
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 5 of 9




 suffer legal harm and injury as a result of the illegal barriers to access, and Defendants’ ADA

 violations set forth herein.

         21.     Plaintiff has suffered and continues to suffer direct and indirect injury as a result

 of the ADA violations that exist at the Facility and the actions or inactions described herein.

         22.     All events giving rise to this lawsuit occurred in the State of Florida. Venue is

 proper in this Court as the premises are located in the Southern District.

                            FACTUAL ALLEGATIONS AND CLAIM

         23.     Mr. Lakhani has attempted to and has, to the extent possible, accessed the

 Facility, but could not do so because of his disabilities due to the physical barriers to access,

 dangerous conditions and ADA violations that exist at the Facility that restrict and/or limit his

 access to the Facility and/or the goods, services, facilities, privileges, advantages and/or

 accommodations offered therein, including those barriers, conditions and ADA violations more

 specifically set forth in this Complaint.

         24.     Mr. Lakhani intends to visit the Facility again in the near future in order to utilize

 all of the goods, services, facilities, privileges, advantages, and/or accommodations commonly

 offered at the Facility, but will be unable to do so because of his disability due to the physical

 barriers to access, dangerous conditions and ADA violations that exist at the Facility that restrict

 and/or limit his access to the Facility and/or accommodations offered therein, including those

 barriers conditions and ADA violations more specifically set forth in this Complaint.

         25.     Defendants have discriminated against Plaintiff and others with disabilities by

 denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

 advantages and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

 and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv),
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 6 of 9




 and will continue to discriminate against Plaintiff and others with disabilities unless and until

 Defendants are compelled to remove all physical barriers that exist at the Facility, including

 those specifically set forth herein, and make the Facility accessible to and usable by persons with

 disabilities, including Plaintiff.

         26.     Defendants have discriminated against Mr. Lakhani by failing to comply with the

 above requirements. A specific, although not exclusive, list of unlawful physical barriers,

 dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because

 of his disability) to access the Facility and/or full and equal enjoyment of the goods, services,

 facilities, privileges, advantages and/or accommodations of the Facility include:

                     Main Entrance

                     a) Door has non-complaint maneuvering clearance on the pull side of the
                        door contrary to 2010 ADA Code §404.2.4,

                     b) Maneuvering clearance on the pull side of the door has a non-compliant
                        slope contrary to 2010 ADA Code §404.2.4,

                     Seating Area - Exterior

                     c) Table does not provide required knee clearance and clear floor space
                        contrary to 2010 ADA Code §902.2,

                     d) Accessible route to exterior tables has a non-compliant slope contrary to
                        2010 ADA Code §403.3,

                     Accessible Route Towards Restroom

                     e) Restaurant equipment and furniture encroaches passage width failing to
                        maintain the accessible route clear of barriers contrary to 2010 ADA Code
                        §403.5.1,

                     Public Restroom

                     f) Permanent room identifying signage does not have Braille or raised
                        characters and is mounted on the door leaf contrary to 2010 ADA Code
                        §703.4.1,

                     g) Urinal encroaches over the water closet clearance contrary to 2010 ADA
                        Code §604.3.2,
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 7 of 9




                    h) Water closet side wall grab bar is mounted at 48” perpendicular from rear
                       wall to centerline of its outer flange contrary to 2010 ADA Code §604.5.1,

                    i) Toilet tissue dispenser is mounted at 16.5” in front of the water closet to
                       the centerline of dispenser contrary to 2010 ADA Code §604.7, and

                    j) Trash bin encroaches over the lavatory knee clearance failing to maintain
                       the lavatory clear floor space free of barriers contrary to 2010 ADA Code
                       §606.2.2.

        27.     The above listing is not to be considered all-inclusive of the barriers, conditions or

 violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an

 inspection of the Facility in order to determine all of the discriminatory acts violating the ADA.

        28.     Mr. Lakhani has attempted to gain access to the Facility, but because of his

 disability has been denied access to, and has been denied the benefits of services, programs, and

 activities of the Facility, and has otherwise been discriminated against and damaged by

 Defendants, because of the physical barriers, dangerous conditions and ADA violations set forth

 above, and expects to be discriminated against in the future, unless and until Defendants are

 compelled to remove the unlawful barriers and conditions and comply with the ADA.

        29.     Independent of his personal desire to have access to this place of public

 accommodation free of illegal barriers to access Plaintiff is an advocate of the rights of similarly

 situated disabled persons and is a "tester" for the purpose of asserting his civil rights and

 monitoring, ensuring, and determining whether places of public accommodation are in

 compliance with the ADA. Independent of other subsequent visits, Plaintiff also intends to visit

 the Premises regularly to verify its compliance or non-compliance with the ADA, and its

 maintenance of the accessible features of the Premises. In this instance, Plaintiff, in Plaintiff's

 individual capacity and as a "tester", visited the Premises, encountered barriers to access at the

 Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

 continue to suffer such harm and injury as a result of the illegal barriers to access and the
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 8 of 9




 violations of the ADA set forth herein. It is Plaintiff's belief that said violations will not be

 corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

 near future.

         30.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

 Defendants modify the Premises or modifies the policies and practices to accommodate

 individuals who have physical disabilities to confirm said modifications have been completed in

 accordance with the requirements of the ADA

         31.     The removal of the physical barriers, dangerous conditions and ADA violations

 set forth herein is readily achievable and can be accomplished and carried out without much

 difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

 36.304.

         32.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until

 Defendants are required to remove the physical barriers, dangerous conditions and ADA

 violations that exist at the Facility, including those set forth herein.

         33.     Plaintiff has been obligated to retain undersigned counsel for the filing and

 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

         34.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject Facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject Facility until the requisite modifications are completed.
Case 1:22-cv-21066-BB Document 1 Entered on FLSD Docket 04/08/2022 Page 9 of 9




        WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendants from continuing is discriminatory practices, ordering

 Defendants to remove the physical barriers to access and alter the subject Facility to make it

 readily accessible to and useable by individuals with disabilities to the extent required by the

 ADA, closing the subject Facility until the barriers are removed and requisite alterations are

 completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

 expenses incurred in this action.

        Respectfully submitted,

    s/ Glenn R. Goldstein
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